Case 3:18-cv-01059-NJR Document 172 Filed 03/15/21 Page 1 of 1 Page ID #947




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MARION DIAGNOSTIC CENTER,
 LLC, and MARION HEALTHCARE,
 LLC, individually and on behalf of
 themselves and all those similarly
 situated,

                 Plaintiffs,

 v.                                            Case No. 3:18-CV-1059-NJR

 BECTON, DICKINSON & CO.,
 CARDINAL HEALTH, INC., and
 MCKESSON MEDICAL-SURGICAL,
 INC.,

                 Defendants.

                      JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      IT IS ORDERED AND ADJUDGED that pursuant to the Order dated March 12,

2021 (Doc. 171), Plaintiffs’ Amended Complaint (Doc. 150) is DISMISSED with

prejudice. This entire action is DISMISSED, and the case is closed.

      DATED: March 12, 2021

                                               MARGARET M. ROBERTIE,
                                               Clerk of Court

                                               By: s/ Deana Brinkley
                                                      Deputy Clerk


APPROVED: s/ Nancy J. Rosenstengel
          NANCY J. ROSENSTENGEL
          Chief U.S. District Judge
